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                       IN TH E UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                                C A SE N O .:15-cv-80032 Bloom

 STR ATEG IC M A RKETW G IN C ,

        Plaintiffs,



 GREAT BLUE HERON SOFTW ARE,LLC;
 ERN EST L.W A LLA CE ,JR .,
 EVENTS,ADVEN TURES SN M ORE,lNC.,
 EVEN TS & A DV EN TU RES O F A TLAN TA ,LLC .,
 EVENTS and ADVENTURES OF NEW YORK,lNC.,
 EV EN TS & A DV EN TU R ES OF PH ILAD ELPH IA ,IN C.,
 EVENTS & ADVENTURES BOSTON,INC.,
 Y OU R SOCIA L LIFE,LLC.,
 M ND Y GA RDN ER,

        Defendants.



                          CO URT'S INSTRUCTIONS TO TH E JURY


 M embersofthejury:
  lt'smy dutyto instructyou on therulesof1aw thatyou mustuse in decidingthiscase.
  W hen 1havefinished,youwillgotothejuryroom andbeginyourdiscussions,sometimescalled
  deliberations.


                   The D uty to Follow Instructions- c orporate Party lnvolved

  Yourdecision mustbe based only on theevidencepresented here.You m ustnotbeinfluenced in
  anywaybyeithersympathy fororprejudiceagainstanyone.
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 You m ustfollow the law asIexplain it---even ifyou do notagree with the law- and you must
 follow a1l of m y instructions as a w hole. Y ou m ust not single out or disregard any of the
 instructions on the law .
 The factthata corporation is involved as a party mustnotaffectyour decision in any way.A
 corporation and a1lotherpersonsstand equalbefore the 1aw and m ustbe dealtwith asequalsin a
 courtofjustice.W hen acorporation isinvolved,ofcourse,itmayactonlythroughpeopleasits
 em ployees;and,in general,acorporation isresponsibleunderthe law forthe actsand statements
 ofitsemployeesthatarem adewithin thescopeoftheirdutiesasemployeesofthecompany.



 C onsideration ofD irectand Circum stantialEvidence;A rgum entofC ounsel;Com m ents by
                                           the Court

 As1said before,you mustconsideronly the evidencethatIhave adm itted in the case.Evidence
 includes the testim ony ofwitnessesand the exhibits adm itted.But,anything the lawyers say is
 notevidence and isn'
                    tbinding on you.
 You shouldn'
            tassum e from anything l've said thatIhave any opinion aboutany factualissuein
 this case.Exceptform y instructions to you on the law,you should disregard anything Im ay
  have said during the trialin aniving atyourown decision aboutthe facts.

  Yourown recollection and interpretation oftheevidenceiswhatmatters.

  ln considering the evidence you m ay use reasoning and comm on sense to make deductions and
  reach conclusions. You shouldn't be concerned about whether the evidence is direct or
  circum stantial.

  t'Directevidence''isthetestimony ofaperson who assertsthathe orshehasactualknowledgeof
  a fact,such asan eyew itness.

  Cicircum stantialevidence''is proof of a chain of facts and circum stances thattend to prove or
  disprove a fact.There's no legal difference in the weight you m ay give to either direct or
  circum stantialevidence.
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                                            Stipulations

 Sometim es the parties have agreed that certain facts are true. This agreem ent is called a
 stipulation.You musttreatthese factsasproved forthiscase.

           SM 1 is a full-service advertising, marketing and public relations com pany in
           South Florida.
           W allace Defendants own the dom ain nmne çslotsofevents.com ,''w hich provides
           accessto theEvents& Adventures(:dEA'')website.
        3.ln the past,EA has employed W allace Defendants to m ake alterations to the
           design and code ofitsw ebsite.
        4. On January 26, 2006, SM 1 entered into an agreem ent with Gardner and EA
           wherein SM l was retained as the exclusive marketing agency for a11 EA
           locations owned and/orlicensed by Gardner. The agreem entwasamended by a
           SupplementLetterto Agreem enton January24,2008.
        5.Pursuant to the agreements discussed above, SM l provided creative production
           servicesfor Gardner and EA,including the creation of certain designs,as well
           as m edia buying and lead generation.
            M oreover, according to the A greem ents discussed above, SM I is entitled to
           receive $3,500.00 per m onth,as a m edia retainer,per m arket/franchise owned,
           co-ow ned, or licensed by Gardner, in exchange for the right to use SM 1's
            intellectualproperty. This m eans SM 1suffered a loss of $494,000.00,in lost
           revenue from April2014 through N ovem ber2015.
        7. The W allace Defendants/counter-plaintiffs are not a party to said Agreements
            between SM Iand Gardnerand EA .
        8. On April19,2013,TerryM uphy,theprincipalofSM l(sçM uphy'')sentGardner
           a 2D-Design proposed modificationforEA'swebsite(the SISMIdesign''),which
            Gardnerthen forwarded to W allace via e-m ail.
        9. D uring a m eeting betw een W allace and Oardner, W allace agreed that EA
            should transition away from its previous website design,in favor of a different
            design.
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       10.Overthe course of20 days,certain changeswere made to the SM 1design,and on
          M ay 10,2013,a finalversionwastransferred to W allaceby way oftheprogram
          StYousendlt''toapply codeso asto m akethenew websiteactive.
       11.W allace was tasked with creating a m odified website, which he worked on
          during the m onth ofM ay 2013.
       12.From M ay to Novem ber,2013,both SM 1and W allace were employed by and/or
          working with EA.
       13.After the SM I-EA relationship ended, W allace shared a link to the tinal
          design with individualswho continuedto work on are-design oftheEA website.
       14.SM 1 did not acquire a license or receive written authorization from the
          W allace Defendants to use the website owned by the W allace Defendants
          for com m ercialpurposes.
       15.SM I filed a copyright application with the United States Copyright Office,
          and wasissued Registration No.:VAu-1-176-703,with an effective date ofApril
              2014,protecting the text and zD-Artwork in the work titled: SfEvents and
           AdventuresW ebsite Redesign.''
        16. SM I claim s protection in the overall creative expression of the design,
           including the selection,arrangement,and placem entofcolors,217 artwork,fonts,
           w ords and im ages.
        l7.After SM lwas granted copyrightprotection overthe design,EA launched a new
           version ofitswebsite,which SM 1claimsinfringeson itscopyright.
        18. SM I also ow ns a copyright entitled çlY our Social Life,'' Registration N o.TX u 1-
           905-670A,which SM lclaim sGardnerand YSL separatelyinfringed upon.
           19.ln connection w ith itsbusinessrelationship with the EA locations,GBHS
           received 1.5% ofthe gross revenue generated through salesofthe mem bership to the
           following Events& Adventures locations:Atlanta, Boston, Tampa, St. Louis,
           W ashington D C,Long Island,M anhattan,South Florida,Philadelphia,and
           Nashville. In addition,W allacethrough GreatBlue Heron M anagement,LLC,
           ow ned fifty percent ofthe interestin EA of Atlanta,LLC through Decem ber31,
           2013.
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       20.SM I was requested to provide the PSD files for W allace to start coding the
          website directly using the design. W allace requested from SM Iand received the
          PSD files w ith im ages, text/font files of the design w ork. W allace had access
          to the Photoshop,PSE filesofthedesign created by SM I.
       21.The Defendants in this case agree thatthe infringing website and SM 1's design
          work are sim ilar. The Defendants also agree that the designs are sim ilar
          because SM l's work isderivativein nature from thepre-existingwebsiteauthored
          bytheW allaceDefendants.
       22.On Febnzary 22, 2014, M urphy was inform ed by W allace, through a phone
          call,thatW allace Was in the process of changing the design of the website
          and that W allace plnnned to use the design created by SM I. During the call,
          M urphy wam ed W allace thathe could notuse SM l's design as thatwas SM 1's
          work,it was intellectualproperty ofSM I,and W allace wasnotauthorized to use
          it. ln fact,M urphy explained that once SM lwas term inated,the EA locations
          subjecttotheagreementlosttherighttousethedesign.
       23.W allaceproceededto usethedesign.
       24. The Gardner entities were generating revenue through the lotsofevents.com
           website and throughleadsfrom Salesforce,generated from M ark Owen.
       25.Once a mem bership is purchased, EA categorizes the m onies paid down in
           connection with the m embership within the revenue colum n,and the monies that
           are to be collected on receivables on the Stfee''column,which is thereafterpaid
           by m embers on m onthly basisoveraperiod oftim e.
        26.A membership buys a m ember of an EA location access to                calendar
           on the lotsofevents.com website. The calendar provides mem bers with dates
           and locations ofactivitiesforsinglesthatm em berscan attendand beintroducedto
           otherpeople.
        27.Overall,the EA locations owned by Gardner generated a totalof $896,525.65
           (sum ofgrossrevenueforeach entity),in grossrevenue in 2014 from theuseof
           the website lotsofevents.com .
        28.Overall,the Events & A dventures locations owned by Em m ettA very generated a
           totalof$1,155,636.51(sum ofgrossrevenue,beforeexpensesand taxesforeach
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            entity),in grossrevenue, before expenses and taxes, in 2014 from the
            use of the w ebsite lotsofevents.com .
        29.Gardnerconsented thathe stopped utilizingtheyoursociallife.com websitebecause
            ofthe filing ofthisaction.


                                     Credibility ofW itnesses

 W hen 1 say you must consider al1 the evidence, 1 don'
                                                      t mean that you must accept a11 the
 evidence as true or accurate.Y ou should decide w hether you believe w hat each witness had to
 say, and how im portant that testim ony w as. ln m aking that decision you m ay believe or
 disbelieve any witness,in whole or in part.The num ber of witnesses testifying concerning a
 particularpointdoesn'
                     tnecessarily m atter.

 To deciclewhetheryou believeany witness1suggestthatyou ask yourselfafew questions:

        Did the witnessimpressyou asonewhowastelling thetruth?
        Did thewitnesshaveany particularreason nottotellthetruth?
        D id the w itnesshave a personalinterestin the outcom e ofthe case?
         D id the w itness seem to have a good m em ory?
         Did the witnesshave the opportunity and ability to accurately observe the thingshe or
         shetestifed about?
         13id thewitnessappearto understand thequestionsclearly and answerthem directly?
         Did thewitness'stestimonydifferfrom othertestimony orotherevidence?



                 Im peacbm entofW itnessesB ecause ofInconsistentStatem ents

  You should also ask yourselfwhethertherew asevidencethata witnesstestified falsely aboutan
  im portantfact.And ask whethertherewasevidencethatatsome othertime awitnesssaid ordid
  something,ordidn'
                  tsay ordo som ething,thatwasdifferentfrom the testimony the witnessgave
  during thistrial.
  Butkeep in m ind that a sim ple m istake doesn't m ean a witness w asn'ttelling the truth as he or
  she remembers it.People naturally tend to forgetsom e things orremem berthem inaccurately.
  So,ifa witness misstated something,you m ustdecide whether itwas because of an innocent

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 lapse in m emory or an intentionaldeception.The signiticance ofyour decision may depend on
 w hetherthe m isstatem entis aboutan im portantfactor aboutan unim portantdetail.



                                         ExpertW itness

 W hen scientific,technicalor otherspecialized knowledge mightbe helpful,a person who has
 specialtraining orexperience in thatfield isallowed to statean opinion aboutthematter.

 But that doesn't mean you m ust accept the witness's opinion.As with any other witness's
 testimony,you mustdecideforyourselfwhetherto rely upon the opinion.



       Responsibility for Proof- plaintiffsC laim s,D efendants'A ffirm ative D efenses-
                                 Preponderance ofthe Evidence

 Inthiscase,PlaintiffSTRATEGIC MARKETING INC (SM l)bringsthefollowingclaims:
              1. CopyrightInfringementagainstEARNEST L.W ALLACE,JR.(W ALLACE),
                   GREAT BLUE HERON SOFTW ARE,LLC (GBHS),M NDY GARDNER
                   (GARDNER), EVENTS, ADVENTURES SN M ORE (EA), and YOUR
                   SOCIAL LIFE,LLC (YSL)
                2. Contributory CopyrightInfringem entagainstW ALLACE
                    VicariousCopyrightlnfringem entagainstEA and GARDNER;


 The Courtinstnlctsyou thatithasalready determ ined,as am atteroflaw,thatYSL isliable for
 CopyrightInfringem entand thatEA is liable forVicarious Copyrightlnfringement.Asto these
 Defendants,you are to determ ine dnmages owed to the Plaintiff,ifany,as a result ofYSL'S
 CopyrightInfringem entand EA 'sV icarious CopyrightInfringem ent.

 ltisthe responsibility ofSM Ito prove every essentialpartofitsclaimsby a ûtpreponderance of
 the evidence.''This is som etim es called the tdburden ofproof'orthe ûsburden ofpersuasion.''
  Sim ilarly,it is the responsibility of G BH S and W A LLA CE to prove every essentialpartof their
  affirm ative defensesby a (tpreponderance ofthe evidence.''
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 A preponderance of the evidence simply m eans an am ount of evidence that is enough to
 persuadeyou thatSM l'sclaim sarem orelikely truethan nottrue.

 If the proof fails to establish any essentialpart of SM I's claim s by a preponderance of the
 evidence, you should find for the Defendants as to that specitic claim. If SM I proves each
 essentialpartofitsclaim sby apreponderanceofthe evidence,you shallconsiderthe affinnative
 defensesraised by GBHS and W ALLACE.

 lfthe prooffailsto establish any essentialpm'tofthe affinnative defensesraised by GBHS and
 W ALLACE,you should tind againstGBHS and W ALLACE in connection with theiraffirmative
 defenses.

 W hen more than one claim oraffirmative defense is involved,as itisin this case,you should
  considereach claim oraffinnative defense separately.

  ln deciding whether any fact has been proved by a preponderance of the evidence,you m ay
  considerthe testim ony ofallofthe w itnesses,regardlessofwho m ay have called them ,and a1lof
  the exhibitsreceived in evidence,regardlessofwho may haveproduced them .



       Responsibility forProof- Affirm ativeDefenses-PreponderanceoftheEvidence

  ln this case, GBHS and W ALLACE assertthe affinnative defenses of Unclean Hands and
  Equitable Estoppel;Even if SM lprovesits claim s by a preponderance ofthe evidence,GBHS
  and W ALLACE can prevailin thiscase ifthey prove an aftirm ative defenseby apreponderance
  ofthe evidence.

  You should considereach affirmativedefenseseparately.
  1caution yOu thatthe GBHS and/orW ALLA CE do nothave to disprove SM I's claims,butif
  GBHS and W ALLACE raise an aftirmative defense,the only way they can prevail on that
  specific defense is ifthey prove thatdefense by a preponderance ofthe evidence.

                                         CO PY R IG H T

                            C opyright- v alidity- G eneralC harge

  To establish copyrightinfringem ent,SM Im ustprove two things:
                                                8
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 First,thatSM lowned avalid copyright.

 And second, that GBHS and/or W ALLACE and/or GARDNER copied the work's original
 com ponents.
 1'11begin w ith instructions on validity and then explain om w rship and infringem ent.A fterthat
 1'11explain the defensesandremedies.



                       Copyright- validile riginalil
 To qualify forcopyrightprotection,the claimed work mustbe originalto the author.tsoriginal''
 m eans only that the author independently created the w ork- the author did not copy it from
  otherworks- and itpossessesatleastam inim aldegree ofcreativity.

  The originality requirementis a low bar.The requirementthatthe work possess som e creative
  spark, no m atter how crude, hum ble or obvious. Thus, the requisite level of creativity is
  extremely low;even a slightam ountwillsuffke.

  A work m ay be copyrightable even though itisentirely a compilation ofunprotectibleelements.
  Forexample,a telephone directory may be copyrightable ifitslistings are selected,coordinated
  or arranged in an originalfashion. A photograph of another artwork,so long as itinvolved
  minimalcreativity in the ''selection oflighting,shading,tim ing,angle,and film ''is suftk iently
  originalforcopyrightprotection. A combination ofnon-protectable com m on geom etric shapes
  and other com m on features m ay be sufficiently original to be appropriate for copyright
  protection. Copyright therefore protects the originalway in which the author has ''selected,
  coordinated,and arranged''theelem entsofhisorherwork.



                          C opyright- v alidity- EffectofR egistration

  For originalworks created after 1977,the work is autom atically copyrighted atthe mom entof
  creation- even if the w ork is never registered w ith the United States Copyright Office.But
  generally, no suit for copyright infringem ent can be brought if the copyright has not been
  registered.

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  A certificate ofregistration m adewithin five yearsafterthe firstpublication oftheclaim ed work
  is evidence of the copyright's validity and the facts stated in the certificate.Specifically,the
  copyright registration creates a rebuttable presum ption of validity. This m eans that the
  presumption shifts SM l'sburden ofproving validity to GBHS,W ALLACE and GARDNER,to
  provethattheclaim ed copyrightisinvalid.

  ln thiscase,GBHS and W ALLACE claim thatSM lcopied certain priordesigns.ln thatregard,
  DefendantsGBHS andW ALLACE arerequiredtoprove 1)accessandzlsubstantialsimilarityin
  connection with the designsthey alleged werecopied.



                   Copyright- validieG om pilationsand CollectiveW orlts
  STRATEGIC M ARKETING INC claim sthat its work is a com pilation and thatits selection,
  arrangem ent,and coordination ofpreexisting materials,ratherthan the m aterialsthem selves,are
  protectable.

  The selection,arrangem ent,and coordination ofpreexisting m aterialsordata in a compilation or
  collective work doesnotpossesstherequired degree ofcreativity forcopyrightprotection ifthat
  arrangem entorcoordination ofpre-existing m aterialsistypical,comm onplace,orexpected asa
  matterofcourse.Theunderlying componentpartsofacreationarenotsubjecttoprotection,byt
  acreator's independentselection and arrangementofcomponentpartsinto an originaldesign is
  copyrightable.

  For example,the arrangementof lastnames in a telephone directory in alphabeticalorderisn't
  creative.Sim ilarly,the arrangem entofa business telephone directory in an alphabetized listof
  business types, with individual businesses listed in alphabetical order under the applicable
  headings,isnotoriginal.



                           Copyright- v alidity- ldeas and Expression

   Copyright protection does not extend to al1 the elem ents of a copyrighted w ork. Elem ents
   covered by thecopyrightprotection are called ûkprotected matter,''and non-covered elementsare


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  ç'unprotected m atter.''Because unprotected matter isn'tentitled to copyrightprotection,another
  authorm ay copy it.

  Thereazevarioustypesofunprotected matter.They include;

           aportion ofthework thatisn'toriginalto the author;
           aportion ofthework that'sinthepublic domain'
                                                      ,and
           an idea,concept,principle,discovery,fact,actualevent,process,orm ethod contained in
           a w ork

  A work thatisçsin the public domain''is onethatdoesnothave copyrightprotection,so anyone
  m ay use allorpartofitin anotherw ork withoutcharge.

  In copyrightlaw,it is importantto distinguish between the ideas in a work and the author's
  expression of the ideas.The ideas in a work are unprotected m atter.But an idea must be
  expressed in som e way,and the expression or m eans ofexpression ofan idea isprotected m atter.

  For example,copyright law doesn'tprotect the idea of a detennined captain hunting a giant
  whale.Butcopyright1aw does protectthe particularexpression ofthis idea in the book M oby-
  D ick.

  Putanotherway,the authorofa work has no exclusive rightto the underlying ideas,concepts,
  principles,discoveries,facts,actualevents,processes,ormethods contained in a work.Butthe
  author's copyrightdoesextend to the m eansby which those are expressed,described,depicted,
  implem ented,orotherwisecommunicated in thework.

  Ifyou find thatSM 1isseeking copyrightprotection in:

           aportion ofawork thatisnotoriginalto theauthor;
           aportion oftheworkthatisin thepublicdom ain;or
           an idea,concept,principle,discovery,fact,actualevent,process,orm ethod expressed or
           described in a work,you should exclude thatm aterialfrom the protected m atter SM I's
           copyrightinfringem entclaim can be based on.

  Therefore,ideasalone arenotprotectable.Butiftheexpression ofan ideaissufficiently creative,
   that expression isprotectable.Expression does not need to be highly creative in order for an
   authorto receive protection in a w ork.

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                         C opyright- o w nership- G eneralC harge

  N ow thatIhave explained validity,w e w illm ove to the issue ofow nership.

  SM l m ust prove ow nership of a copyright in the graphic w ork titled:tsEvents and A dventures
  W ebsite Redesign''and the copyright entitled ç'Your SocialLife''by a preponderance of the
  evidence.SM lcan prove ownership by evidenceshowingthatit:

         is an author or creator ofthe work and did nottransferto another the exclusive rights
         being asserted;or
         acquired legalow nership by transfer ofthe copyright in the exclusive rights G BH S and
         W A LLA CE allegedly infringed.



                        Copyright- ow nership- lndividualA uthorship

  SM 1claim sownership ofthe copyrighted work tsEventsand AdventuresW ebsite Redesign'' as
  an author of the w ork the creator of the original expression in a w ork that is entitled to
  copyrightprotection.SM 1also claim sow nership ofthe copyrightentitled StY ourSocialLife.''



                                Copyright- ow nership- Transfer

  A transferofcopyrightow nership,other than by operation of law ,m ustbe in writing and signed
  by the ow nerofthe copyrightorthe ow ner's authorized agent.The w riting m ay be an instrum ent
  ofconveyance,such as a contractorassignm ent,ora note ofm em orandum ofthe transfer.

                 Copyright- lnfringem ent- lntroduction to E lem ents

  If you are persuaded that SM l owns a valid copyright, you must consider whether GBHS,
  W A LLA CE and/or GA RDN ER im properly copied SM I's copyrighted m aterial.

  lt is the burden of SM l to show that G BH S and/or W A LLA CE w illfully infringed on its valid
  copyrightregistered atN o.:V A u-1-176-703,titled:d'Events and A dventures W ebsite Redesign''
  by copying partlsl and/or a11 of it and including the copied material in the website
  Nvwav.lotsofevents.com - and that GA RDN ER engaged in vicarious infringem ent of that


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  copyright.Sim ilarly,itisthe burden ofSM Ito show thatGARDNER willfully infringed on its
  valid copyrightregistered atNo.TXu 1-905-670A titled:tdYotlrSocialLife''.

  W illfulnessunderthe CopyrightActSfmeansthatthe defendanttknowshisactionsconstitute an

  infringem ent; the actions need not have been m alicious. W illfulness may be actual or

  constructive and may beproven directly orm ay be inferred from thedefendants'conduct.

  Thisiscalled dtinfringem ent''ofa copyright.

  To succeed on its infringem ent claim s, SM 1 m ust prove that GBH S, W A LLA CE and/or
  GARDNER copiedthepartrslofSMI'
                               scopyrightedworkthatthelaw protects.
  There aretwo waysin which SM lcan prove aclaim ofcopyrightinfringem ent.

  First,SM lcan show directevidencethatGBHS,W ALLACE and/orGARDNER actually copied
  the copyrighted m aterial.Forexample,SM 1could introduce believable eyewitnesstestim ony or
  an admission by GBHS,W ALLACE and/orGARDNER. Such directevidence israre.

  Or second,SM l can show indirector circum stantialevidence thatGBHS,W ALLACE and/or
  GARDNER copied itswork.Forexam ple,indirectevidence ofinfringem entm ay be proofthat
  GBHS,W ALLACE and/orGARDNER,tried to getand/or obtained a copy ofSM I'swork and
  then published a design that is substantially sim ilar to SM 1's zD-Design.ln general,the two
  elementsofinfringementare(1)accessand(2)substantialsimilarity.
  Exactreproduction ornearidentity is notnecessary to establish infringem ent.The existence of
  differenceswillnotnegate infringem entunlessthey so outweigh sim ilaritiesthatthe sim ilarities
   can only be deem ed inconsequentialwithinthetotalcontextofthecopyrighted work.



                                Copyright- lnfringem ent- A ccess

   Remember,Idescribedthetwogeneralelementsofinfringementas(1)accessand(2)substantial
   similarity.1?11now discussaccess in more detail.SM 1can show thatGBHS and/orW ALLACE
   (asto No.:VAu-1-176-703),and/orRANDY GARDNER (as to No.TXu 1-905-670A)had
   %'access''to its w ork by showing that G BH S,W A LLA CE and/or G ARD N ER had a reasonable


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  opportunity to see the work. It is not necessary to show that GBHS, W ALLACE and/or
  GARDNER actually saw SM l's work before creating the design thatis contained within the
  website w'wav.lotsofevents.com ,ifthe evidence reasonably establishesthatGBHS,W ALLACE,
  and/or GARDNER could have seen itand could have copied it.Butyou calmotbase a fnding
  that GBHS, W ALLACE and/or GARDN ER had access to SM l's work on m ere speculation,
  conjecture,ora guess.To supporta tinding ofaccess,there mustbe more thanjusta slight
  possibility ofaccess.Theremustbeareasonablepossibility ofaccess.

  Sometim es Plaintiffs cannotshow thata defendanthad accessto itswork before the defendant
  created an alleged copy. lf that was the case here,       SM 1 can still establish a rebutlable
  presum ption of copying by showing thatthe m aterialGBHS,W ALLA CE and/or GARDNER
  allegedly copied isso strikingly similazto itscopyrighted m aterialthatthe sim ilarity isunlikely
  to have occurred unlessthere wascopying.Putanotherway,if SM l'swork atNo.:VAu-1-176-
  703 and G BH S and/or W A LLA CE 's w ork are so strikingly sim ilar that a reasonable person
  would assume GBHS and/orW ALLACE copied from SM l'swork and thatthereisnopossibility
  of independent creation, coincidence, or prior com m on source, then SM I is entitled to a
  rebuttable presum ption that copying occurred. tdstrikingly sim ilar'' is a greater degree of
  sim ilaritythan çssubstantially sim ilar.''

  An accused work is substantially similar to an original piece if an ordinary observer would
  conclude thatthe accused work'screator unlawfully took protectable m aterialofsubstance and
  value from theoriginalpiece.

  Even ifthere islittle similarity between the pieces,the accused work can stillbe substantially
   sim ilarifthe copied partsfrom theoriginalpiecearethe im portantquality.

  As to No.: VAu-1-176-703 (ClEvents and Adventures W ebsite Redesign'') a Ssrebuttable
   presum ption'' means that you assum e that copying occurred unless GBHS and W ALLACE
  provesthatitdidnothappen.lfSM Ishows(1)thatGBHS and/orW ALLACE had accesstothe
  copyrightedmaterialandthatthereissubstantialsimilaritybetweenthetwoworks,or(2)thatthe
   worksare strikingly sim ilar,then the burden ofproofshiftsto GBHS and W ALLACE to prove
   that its work is an independent creation- not a copy.Proof that a work is an independent
   creation overcom esa presum ption ofcopying.


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  Asto No.:TXu 1-9050670A (çiYourSocialLife''),thisrebuttable presumption also applies.lf
  SM Ishows(1)GARDNER had accessto thecopyrighted materialand thatthere issubstantial
  similaritybetweenthetwoworks,or(2)thattheworksarestrikinglysimilar,thenthebttrden of
  proofshiftsto GA RD N ER to prove thathisw ork isan independentcreation- nota copy.

  ln thiscase,GBHS and W ALLACE claim thatSM lcopied certain priordesigns.In thatregard,
  DefendantsGBHS and W ALLACE arerequired to prove 1)accessand zlsubstantialsimilarity
  in connection with the designsthey allegedwerecopied.



                        C opyright- lnfringem ent- substantialSim ilarity

  Having discussed access,1'11now discuss the issue of substantial sim ilarity.A s to N o.:VA u-1-
  176-703,SM Im ustprove thatG BH S and W A LLA CE'S accused w ork is substantially sim ilar to
  itscopyrightableexpressioninthecopyrightedwork.AstoNo.:TXu 1-9050670A (çsYourSocial
  Life''), SM 1 must prove that GARDNER'S accused work is substantially similar to its
  copyrighted expression in thecopyrighted work.

  G BH S and/or W A LLA CE and/or GA RDN ER'S accused w ork is substantially sim ilar in
  expression to SM 1's if an ordinary observer would conclude that G BH S and/or W A LLA CE
  and/orGARDNER unlawfully took SM I'sprotectableexpression by taking materialofsubstance
  and value.Even ifthe degree ofsim ilarity between SM l's copyrighted work and GBHS and/or
  W ALLACE and/orGARDN ER'S accused work is sm allin quantity,you can stillfind thatthere
  issubstantialsim ilarity ifthe copied portions ofSM 1's copyrighted work are im portantin quality.
  ButifGBHS and/orW ALLACE and/orGARDN ER'S copying ism inim alortrivial,you should
  nottind infringem ent.



                     C opyright- lnfringem ent- c ontributoc Infringem ent

  ln thiscase,SM lclaim sthatW ALLA CE is a contributory infringerofNo.:VAu-1-176-703.A
  Sdcontributory infringer''is one who,with knowledge of another's infringing conduct,induces,
  causes,or m aterially contributes to the infringing conduct. çslonowledge'' means the alleged
  contributory infringer actually knew ,or had reason to know ,ofthe infringem ent.lfyou find that

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  there hasbeen a directinfringementofSM l'scopyrighted materialsby one defendant,you can
  also considerw hetherthere hasbeen S'contributory infringem ent''by anotherdefendant.



                       C opyright- lnfringem ent- v icarious Infringem ent

  lfyou tind thatthere isa directinfringement,you can then considerwhetherthere hasalso been
  a vicarious infringem ent.A isvicariousinfringer''isone who proftsfrom a directinfringem ent
  whiledecliningto exercisehisrightand ability to stop orlim ittheinfringem ent.

  U nder this doctrine a party is responsible for the directinfringer's acts ifthe party controlled or
  supervised,orhad therightand ability to controlorsupervise,thedirectinfringer'sactions.

  If you tind that there has been a direct infringem ent of SM 1's copyrighted m aterials by one
  defendant, you can consider whether there has been çsvicarious infringement'' by another
  defendant.

  To find thatGARDNER isliable for anotherparty'sinfringementofNo.:VAu-1-l76-703,you
  m usttirstfind that GA RDN ER had the rightand ability to controlor supervise the other party's
  infringing action and either controlled the action, or failed to exercise his right and ability to
  preventthe infringement.Also,you m ustfind thatGARDNER directly profited from the other's
  infringem ent.



                                A ffirm ative D efense - Unclean H ands

          As an affirmative defense,GBHS and W ALLACE asserts that SM 1had unclean hands
  when SM 1claim ed thatitscopyrighted design wasoriginally authored work thatdid notinvolve
  copying.

          Unclean handsmaybefound onlywheretheunlicensed usersubjectively andknowingly
   intended to cause m istake or to confuse or deceive. M ere awareness of a copyright owner's
  claim to the same originalauthored work doesnotam ountto having unclean hands. The owner
   ofthe copyrightm ustdem onstrate thatatthe tim e the unlicensed userbegan using the design or



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  som etime thereafter,said unlicensed userknowingly did so with the bad faith intentto benefit
  from orcapitalize on the owner's goodwill.

           To prevailon their claim ofunclean hands,GBHS and W ALLA CE must prove by a
  preponderance ofthe evidence thatSM Iknowingly intended to use the preexisting work as its
  0m 3.

           Ifyou find by a preponderance of the evidence thatG BH S and W A LLA CE established
  thatSM Ihad tmcleanhands,you should find in favorofGBHS and W A LLACE.



                           A ffirm ative D efense- Equitable Estoppel

  GBH S and W A LLA CE claim thatSM Iis barred from asserting its copyrightinfringem entclaim
  against GBHS and W ALLA CE by the doctrine of estoppel.To establish estoppel,GBHS and
  W ALLACE m ustproveeach ofthefollowing elem entsby apreponderance oftheevidence:

  First, thatSM 1knew thefactsofGBHS'Sand W ALLACE'Sinfringing conduct.

  Second, that SMI's statement or conduct (either action or inaction) caused GBHS and
  W A LLA CE to believe that SM l w ouldn'
                                         t pursue a claim for copyright infringem ent against
  them .

  Third,that SM lintended for GBHS and W ALLACE to acton their statem entor conduct,or
  GBH S and W ALLACE had arightto believeSM Iso intended.

  Fourth,that GBH S and W A LLA CE didn'
                                       t know that SM I would pursue a claim for copyright
  infringem entagainstthem .

  And fifth,thatGBHS and W ALLACE were injured as a result oftheir reliance on SM l's
  statem entorconduct.

  lfyou find thatGBHS and W ALLACE have proved these elementsby a preponderance ofthe
  evidence,yourverdictmustbe in favorof GBHS and W ALLACE on the claim for copyright
  infringem ent.

                               Copyright- Dam ages- G eneralC harge


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  lf you find that SM lproved by a preponderance of evidence that GBH S and/or W ALLACE
  infringed SM I's copyrighttitled tsEvents and Adventures W ebsite Redesign'',thatW A LLA CE is
  liable for contributory copyright infringem ent and G BH S and W ALLA CE have not proved an
  affirm ativedefense,you mustdetermine whetherSM Iisentitled to recoverdam ages.Ifyou find
  in favor of SM l as to G A RDN ER on the claim thathe infringed SM I's copyright titled t'Y otlr
  Social Life''and vicarious infringem ent as to GARDNER,you will consider dnm ages as to
  GARDNER.The Courthasalready instructed you thatDefendantsYSL and EA are each liable
  forinfringementand you mustconsiderdam agesasto YSL and EA.

  ln the next instnzction,lw illdefine how you m ustdetennine the am ount of dam ages,ifany,to
  aw ard to SM I.

                             Copyright- D am ages- A ctualD am ages

  SM 1isentitled to recoverany actualdamagessuffered becauseoftheinfringem ent.

  ésActualdamages''meanstheamountofmoneyadequateto compensateSM Ifortheinjurytothe
  m arketvalue of the copyrighted w ork caused by the infringem ent.ln this case,SM l claim s that
  theinjurytothemarketvalueofitscopyrightedwork ismeasuredby:
          licensing revenue lostbecause ofthe infringem ent,
                                                           '
          protitson sales lostbecause ofthe infringem ent'
                                                         ,
         theprotitsGBHS,W ALLACE and/orGARDN ER ea ed becauseoftheinfringement;
          therevenuesthatSM llostbecauseoftheinfringem ent;or
         othermeasurespecificto the case.

  SM I has the burden offirst proving to a reasonable probability a causalconnection between
  GBHS,W ALLACE and RANDY GARDNER'Salleged actts)ofinfringementandany injury to
  them arketvalueofthecopyrighted work atthetime ofinfringement.

         Such a claim for actualdam ages m ay include a retroactive license fee m easured
  by whatthe Plaintiffw ould have earned by licensing the infringing use to the Defendant.

                           C opyright- Dam ages- statutory Dam ages




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  SM lseeksa statutory damageaw ard againstGARDNER and YSL based on the infringementof
  the copyrightentitled SûYourSocialLife.''dtstatutory damages''are dam agesthatare established
  by Congressin the CopyrightAct.

  The purposes are to com pensate the copyright ow ner, penalize the infringer, and deter future
  copyright-law violations.The am ount awarded m ustbe between $750 and $30,000 for each
  copyrighted work thatyou found to be infringed,unless one ofthe exceptions applies,as 1'11
  explain later.

  Todetenninetheappropriatenm ountto award,you can considerthe following factors:

          the protits Y SL and/or GA RDN ER earned because ofthe infringem ent;
         the revenuesthatSM llostbecause ofthe infringem ent;
         the difficulty ofproving SM l'sactualdam ages;
         the circum stances ofthe infringem ent;
         whetherYSL and/orGARDNER intentionally infringed SM l'scopyright;and
         deterrence offuture infringem ent.

  lfSM lprovesthatYSL and/orGARDN ER willfully infringed itscopyright,you may- butare
  not required to- increase the statutory damage award to a sum as high as $150,000 per
  copyrighted work.

  lnfringement is édwillful''if SM lprovesthatYSL and/or GARDNER knew thatits/his actions
   constituted infringem entofSM I'scopyright.

   IfYSL and/orGARDNER provethatinnocentinfringementof SM l's copyright,you m ay- but
   are notrequired to- reducethe statutory dam age award to a sum as1ow as$200 percopyrighted
   work.Infringem entis Slinnocent''ifYSL and/orGARDNER prove,individually,thathe and it
   did notknow,and hadno reason to know,theactsatissue constituted infringement.

   Y0u cannotfind thatYLS and/orGARDNER wasand/orwere,imaocentinfringerts)ifanotice
   of copyrightappeared in the correctform and position on the published copy of SM 1's w ork to
   which GBH S,W A LLA CE,and/orGA RDN ER had access.

     notiee is in correctfonn if itincludes the symbol(0 (the letter C in a circlel/the word
   tscopyrighf'/the abbreviation (tCopr.'', the nam e of the copyright owner/an abbreviation by

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  which the copyright ow ner's nam e can be recognized/a generally know n designation of the
  copyright'sownerand ifno othernnme appearsin conjunction with the notice,theproducer's
  nam e m ust be considered pal4 of the notice,and the year of first publication of the work.A
  notice is in the correctposition ifitappearsin a m annerand location thatgivesreasonable notice
  ofthe claim ofcopyright.



                  D uty to D eliberate W hen O nly the PlaintiffC laim s D am ages

  Of course,the factthat lhave given you instructions concerning the issue of SM l's dnm ages
  should notbe interpreted in any way as an indication that1believe thatSM Ishould,orshould
  not,prevailin this case.

  Your verdictmustbe unanim ous- in other words,you mustal1agree.Your deliberations are
  secret,and you'llneverhave to explain yourverdictto anyone.

  Each ofyou mustdecide the case foryourself,butonly aherfully considering the evidence with
  theotherjurors.So you mustdiscussthe casewith oneanotherand try to reach an agreement.
  W hile you're discussing the case,don'thesitateto reexnm ine yourown opinion and change your
  mind ifyoubecomeconvincedthatyou werewrong.Butdon'tgiveup yourhonestbeliefsjust
  because othersthirlk differently orbecause you sim ply w antto getthe case overw ith.

  Rememberthat,in avery realway,you'rejudges- judgesofthefacts.Youronlyinterestisto
  seek the truth from the evidence in the case.

                                       M ultiple C laim s & Parties


             In yourdeliberations,you are to consider distinctclaims alleged by SM Iagainst
      GBH S,W A LLA CE,G AR DN ER ,Y SL and EA . Y ou are also to consider SM l's claim s
      fordam ages.Although these claim s have been tried together, each is separate from
      the other,and the parties are entitled to have you separately consider each claim as
      it affects that party.    Therefore, in your deliberations, you should consider the
      evidence as it relates to each claim separately,as you w ould had each claim been tried
      before you separately.A lso,the existence of m ultiple defendants here should not affect


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      you evaluation of Plaintiffs' claims - each defendant's conduct must be adjudged
      independentfrom thatoftheother.However,ifyou award damages,theplaintiffsshould
      bemadewholefortheirinjuries,notemiched. Assuch,Plaintiffsmay notbe awarded
      m ore than the totalof theircollective lossesarising from the alleged incidentdiscussed
      attrial.


                                              N ote-Taking


             You'vebeen permitted to takenottsduring thetrial.M ostofyou - perhapsa1lof
      you - have taken advantage ofthatopportunity.
             You m ust use your notes only as a mem ory aid during deliberations. You
      mustnot give your notes priority over your independentrecollection of the evidence.
      Andyoumustnotallow yourselftobeundulyintluencedbythenotesofotherjurors.
             1emphasize thatnotesare notentitled to any greaterweightthan yourmem ories
      orimpressionsaboutthe testimony.


                      E lection ofForeperson;Explanation ofV erdictForm

         W hen you getto thejuryroom,choose one ofyourmembersto actasforeperson.The
  foreperson willdirectyourdeliberationsand speak foryou in court.

         A verdictform hasbeen prepared foryourconvenience.

                               (Explainverdictfonnj
          Taketheverdictform with you tothejuryroom.W henyou'veallagreedon theverdict,
  yourforeperson m ustfi11in thefonn,sign itand dateit.Then you'llreturn itto thecourtroom .

          lf you wish to com municate with me at any tim e,please write down your message or
   question and give itto the courtsecurity officer.The courtsecurity officerwillbring itto m e,
   and 1'11respond aspromptly aspossible- eitherin w'riting orby talking to you in the courtroom .
   Please understand thatlmay have to talk to the lawyersand the partiesbefore 1respond to your
   question orm essage,so you should bepatientasyou awaitm y response.But1caution you notto
   tellmehow manyjurorshavevoted oneway ortheotheratthattime.Thattypeofinformation

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  should remain in thejury room and notbe shared with anyone,including me,in yournote or
  question.

  Y ou m ay now retire to consideryourverdict.




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